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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 21-CV-60577-RAR

 NANCY WADE,

        Plaintiff,

 v.

 CAPITAL ONE BANK (USA), N.A.,

       Defendant.
 _______________________________________________/

                                  ORDER OF DISMISSAL

        THIS CAUSE comes before the Court upon the Notice of Voluntary Dismissal [ECF No.

 8]. The Court having reviewed the Notice, the record, and being otherwise fully advised in the

 premises, it is hereby

        ORDERED AND ADJUDGED that this case is DISMISSED.

        DONE AND ORDERED in Fort Lauderdale, Florida, this 14th day of May, 2021.



                                                   _________________________________
                                                   RODOLFO A. RUIZ II
                                                   UNITED STATES DISTRICT JUDGE
 cc:    counsel of record
